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                                  [logo:] FEDERAL Attorney General’s Office




Review No.: [hw:] 613

First Instance Criminal Law Court Specialized in Organized Crime of the 1st Panel.

File: IUE 474-76/2016 “GONZALEZ VALENCIA, Gerardo. EXTRADITION”



//dam Acting Judge:

                             1.- On 6/1/2016, Note No. 125 was received at the
Supreme Court of Justice from the Embassy of the United States of America
accompanied by actions and translation, in relation to the proceedings
entitled: “EXTRADITION DE GERARDO GONZALEZ VALENCIA."
                             Nancy Larroca contacted the 1st Panel Organized
Crime Court, being informed by the Esc Act. Olid that González - Valencia
was going to be arrested for a long time and that he was aware of the petition
for Extradition from the United States of America.
                             On June 15, 2016, by verbal order, the Supreme
Court of Justice ordered that the provisions of June 7 on page 101 be
complied with, that is, to send the proceedings to the First Instance Criminal
Court Specialized in Organized Crime of the 1st Panel, giving notice that
they were received on 6/16/2016.
                             2.- On 6/22/2016, this was received at the Attorney
General’s Office and passed in review.
                             Regarding the receipt of the Extradition order for
Gerardo GONZALEZ VALENCIA, it is worth noting.
                             These proceedings are governed by the bilateral
Treaty in force between the United States of America and the Oriental



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Republic of Uruguay, ratified by Law 15,476, which entered into force on
10/26/1983.
                       Having controlled the facts required by said Treaty, it
can be affirmed that this Extradition complies with the formal requirements
required except for what will be said:
                       a) With regard to the offenses committed, Art. 11 of
Law 18,494 includes the offenses established in Decree Law 14,394, the
precedents of those classified in Arts. 54 to 57 of that Decree Law and those
established by Law 17,835 of 9/23/2004, without prejudice to the provisions
of Art. 17 of the Treaty. The provisions of Article 13 of the Criminal Code are
satisfied.
                       b) As well as what is set forth in the provisions of Art.
8 as well as the formalities required to accept the petition for extradition
provided for in Art. 10, also framing this situation in the provisions of Art. 8,
while Gonzalez Valencia is prosecuted in our country for a crime of “Money
Laundering”.
                       c) With respect to the penalty to be served, there is a
difference that must be respected by the petitioning state in order for
the request for Extradition to be fully carried out.
                       It states on page 62, section 18 of the petition for
Extradition, that the maximum penalty for a violation of Charge One of the
indictment is the deprivation of freedom in perpetuity, ...".
                       In our country, the deprivation of freedom in perpetuity
or life imprisonment is not foreseen. Thus, our legislation provides in Article
66 of the Criminal Code that the main penalties are: “Penitentiary...” and
Art. 68 “of the same” establishes the duration of the prison sentence, the law
says: “The prison sentence will last from two to thirty years.” And Art.
92 “of the same” provides with respect to security measures: “The security




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measures consist of four classes: curative, educational, elimination and
preventive...the third ones, (apply) to habitual criminals ... and to rapists
or murderers who, due to the exceptional severity of the fact, derived
from the nature of the motives, the form of execution, the background
and so on and other related circumstances, report a great danger.”
                        And Art. 95 of the Criminal Code establishes the
maximum duration of the elimination measures described “above”, at most
“fifteen” years.
                        Therefore, the petitioning country must accept as a
penalty the longest provided for in our law, that is: 30 years of prison and 15
more years of probationary measures, if applicable. Totaling 45 years. This,
while in our country, the duration of the penalties is considered public order.
                        Based on the foregoing, the Attorney General’s Office
requests:
                                                  1) The      process     of   the
Extradition of Gerardo GONZALEZ VALENCIA is carried out, as
requested by the United States of America with the exception that the
maximum penalty to be applied is 45 years, as it is not admitted in our law
to deprive an individual of freedom in perpetuity.
                                                  2) The       inmate      whose
extradition is petitioned, duly represented by a lawyer, to impose on him the
request of the petitioning country, especially if he agrees to be extradited, on
which he stated at a hearing that he would be willing to agree, is summoned
to declare within the 24-hour period established by Art. 16 of the Constitution
of the Republic.
                                                  3) It   forms    part   of   the
actions of Gerardo GONZALEZ VALENCIA, for the purpose of speeding up
the procedure in the event that it is brought to the Extradition. It is also taken




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into account that while the Inter-American Convention on Serving Criminal
Sentences Abroad is in force, there is a possibility that once the defendant
is convicted, he may be punishable in the petitioning country.
                                                      4) A        testimony   of   the
request for Extradition of the accused Gerardo Gonzalez Valencia is added
by agreement to the main piece. (MAC)
                                                      MOntevideo, June 23, 2016.



                                            [signature]
                               Dr. Maria de los Angeles Camiño Moreno
                                  National Criminal Attorney General
                               Specialized in 2nd Shift Organized Crime.




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City of New York, State of New York, County of New York




I, Dan McCourt, hereby certify that the document “00054284-00054287” is, to the best of my
knowledge and belief, a true and accurate translation from Spanish into English.




_______________________
Dan McCourt



Sworn to before me this
June 29, 2023



_____________________
Signature, Notary Public




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Stamp, Notary Public




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